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                                                U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York

                                                   The Jacob K. Javitz Building
                                                   26 Federal Plaza
                                                   New York, New York 10278


                                                   March 28, 2025

By ECF
Hon. Arun Subramanian
United States District Court
500 Pearl Street
New York, NY 10007

       Re:    United States v. Avraham Eisenberg, 23 Cr. 10 (AS)

Dear Judge Subramanian:

        The Government’s sentencing submission in the above-captioned case is due April 3, 2025.
In light of the length of the defense submission, the Government respectfully requests a brief
extension to noon on April 7, 2025. This will not change the April 10, 2025 sentencing date. Mr.
Eisenberg’s attorneys consent to the request.


                                            Respectfully submitted,

                                            MATTHEW PODOLSKY
                                            Acting United States Attorney

                                        by: __/s___________________________
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